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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA,                  )
                                           )   Case No. 1:08CR00024-012
                                           )
v.                                         )
                                           )            OPINION
                                           )
PAUL ALSTON VAUGHN, JR.,                   )   By: James P. Jones
                                           )   Chief United States District Judge
             Defendant.                    )

       Paul Alston Vaughn, Jr., Pro Se Defendant.

       The defendant, Paul Alston Vaughn, Jr., a federal inmate, has filed a pro se

pleading entitled “Complaint,” alleging that because he was unconstitutionally

indicted, the United States Magistrate Judge did not have jurisdiction to arraign or

detain him after his arrest on the criminal charges of which he stands convicted.

Upon review of the motion and court records, I find that the motion is properly

construed as a Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C.A. § 2255 (West Supp. 2009) and should be dismissed without prejudice,

because the defendant’s direct appeal is pending.

       The defendant, along with others, was charged with conspiring to possess with

intent to distribute and to distribute 50 grams or more of crack cocaine. Vaughn

pleaded guilty to the charge, pursuant to a written plea agreement, in October 2008,
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in exchange for the government’s agreement not to seek enhancement of his sentence

based on his prior drug convictions. Vaughn testified for the government at the jury

trials of coconspirators, but then recanted his testimony. I conducted a hearing and

found that Vaughn’s trial testimony, and not his recantation, was truthful. Because

Vaughn’s recantation breached the terms of his plea agreement, the government was

no longer bound by its promise in the agreement to forego seeking enhancement of

his sentence. At the sentencing hearing on September 8, 2009, I imposed the

statutory mandatory minimum sentence of life imprisonment. See 21 U.S.C.A. §

841(b)(1)(A) (West 1999 and Supp. 2009).

      Vaughn filed a notice of appeal on September 14, 2009, and the United States

Court of Appeals for the Fourth Circuit appointed counsel to represent Vaughn for

the appeal, which is currently pending.

      The well established general rule is that, absent extraordinary circumstances,

the district court should not consider a § 2255 motion while a direct appeal is

pending. Bowen v. Johnston, 306 U.S. 19, 26-27 (1939); United States v. Taylor, 648

F.2d 565, 572 (9th Cir. 1981); United States v. Davis, 604 F.2d 474, 484 (7th Cir.

1979).   Vaughn’s current claims fail to present extraordinary circumstances

compelling this court to address them as a § 2255 motion during the pendency of his

direct appeal. Moreover, the court has no other legal authority under which to revisit

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the validity of Vaughn’s trial proceedings at this time. Finally, dismissal of this

motion without prejudice as a premature § 2255 motion will not prevent Vaughn from

pursuing relief under § 2255 after appeal proceedings are completed. Villanueva v.

United States, 346 F.3d 55, 60 ( 2d Cir. 2003) (finding that prior § 2255 motion

dismissed as premature does not trigger successive petition bar).

      For these reasons, I will dismiss the § 2255 motion without prejudice as

premature.

      A separate Final Order will be entered herewith.

                                              ENTER: June 28, 2010.

                                              /s/ James P. Jones
                                              Chief United States District Judge




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